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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL
 Case No.         5:19-cv-01731-DMG (SP)                                         Date   April 7, 2023
 Title            Grant Ashley v. Chiray Bharsar




 Present: The                    Sheri Pym, United States Magistrate Judge
 Honorable
           Kimberly I. Carter                                  None                             None
                Deputy Clerk                         Court Reporter / Recorder                Tape No.
                Attorneys Present for Plaintiff:                     Attorneys Present for Defendant:
                         None Present                                         None Present
 Proceedings:                 (In Chambers) Order to Show Cause Why Case Should Not Be Dismissed
                              for Plaintiff’s Failure to Prosecute

       On August 12, 2022, the court issued two orders that provided for service of the
operative Second Amended Complaint on defendant Chirag Bhavsar. One order, the
Order Directing Service of Process by the United States Marshal (“Service Order”)
(docket no. 18), directed service on defendant Chirag Bhavsar. The second order, the
Order Re: Service of Process by United States Marshal (“Order Re: Service”) (docket no.
17), set forth certain steps that needed to be taken to allow the U.S. Marshal to
accomplish such service.

       In particular, in the Order Re: Service, the court ordered plaintiff to complete a
separate USM-285 form for each defendant – here, only defendant Bhavsar – and then
send the completed forms to the clerk of court. The clerk sent plaintiff a blank USM-285
form with the Order Re: Service, and the Order Re: Service gave plaintiff specific
instructions as to how to complete the form. The Order Re: Service set a deadline of
September 12, 2022 for plaintiff to return to the clerk the completed USM-285 forms, and
to complete and file the Notice of Submission form attached to the Order Re: Service.
The court explicitly cautioned: “If plaintiff does not submit the completed USM-285
forms and file the Notice of Submission by September 12, 2022, this action will be subject
to dismissal without prejudice for plaintiff’s failure to comply with the court’s order
and/or plaintiff’s failure to prosecute.”

       More than six months have passed since the September 12, 2022 deadline, and
plaintiff has not returned a USM-285 form for defendant Bhavsar, nor has plaintiff filed
the Notice of Submission. It therefore appears that plaintiff has failed to comply with the
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court’s Order Re: Service. Plaintiff’s failure to comply with the court’s Order Re:
Service renders this action subject to dismissal for failure to comply with a court order
and failure to prosecute. Moreover, the action cannot proceed if plaintiff does not take
the steps required to serve defendant Bhavsar with the Second Amended Complaint.

      Accordingly, within fourteen (14) days of the date of this Order, that is, by April
21, 2023, plaintiff is ORDERED TO SHOW CAUSE, in writing, why this case should
not be dismissed plaintiff’s failure to prosecute and comply with a court order. Plaintiff
may discharge this Order to Show Cause by returning a completed USM-285 form for
defendant Bhavsar and filing the Notice of Submission by April 21, 2023. Plaintiff is
cautioned that his failure to timely file a response to this Order to Show Cause will be
deemed by the court as consent to the dismissal of this case without prejudice.




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